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                                           EXHBIT B

                                          Sale Agreement




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                                               SALE AGREEMENT

             AGREEMENT dated as of November 30, 2009, between W. R. GRACE &
CO.-CONN., a Connecticut corporation, acting by and through its business unit Grace
Davison ("Sellet', and CHEVRON PRODUCTS COMPANY, a division of Chevron U.S.A.
Inc., a Pennsylvania corporation ("Buyer")

              WHEREAS, reference is made to the Limited Liability Company Agreement
dated March 1, 2001, as amended (the "LLC Agreement"), of Advanced Refining
Technologies LLC, a Delaware limited liability company (the "Company");

               WHEREAS, capitalized terms used but not defined herein are used with the
definitions given them in the LLC Agreement;

             WHEREAS, Seller wishes to sell to Buyer a portion of Seller's Company
Interest equal to 5% of the aggregate Company Interests (the "Purchased Interest";


              WHEREAS, an order (the "Sale Order") authorizing the transaction
contemplated by this Agreement (the "Transaction"), has been entered by the United States
Bankruptcy Court for the District of Delaware (the "Bankruptcy Court") in In re: W R. Grace
& Co. et al., Debtors, Chapter 11, Case Nos. 01-1139 et al. (JKF) (Jointly Administered) in
the Bankruptcy Court, in which Seller is a debtor and debtor in possession, and said order
has become final and non-appealable; and

              WHEREAS, the sale of less than all of Seller's Company Interest
contemplated by this Agreement has been approved by a Unanimous Vote.

              NOW, THEREFORE, Seller and Buyer (the "Parties") hereby agree as
follows:

               1. Sale of Purchased Interest. Seller hereby sells to Buyer, and
Buyer hereby purchases from Seller, the Purchased Interest.

              2. Purchase Price. The purchase price for                  the Purchased Interest (the
"Purchase Price") is Four Million Dollars ($4,000,000.00).

              3. Actions at the Closina. The closing of the Transaction (the
"Closing") wil take place simultaneously with the execution and delivery of this Agreement.
At the Closing:




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                                  (i) Buyer is delivering the Purchase Price to Seller by wire transfer
           in immediately available funds to the following account:

                                  Bank: JPMorgan Chase Bank, NA
                                  Bank ABA #: 021000021
                                  Bank SWIFT code CHASUS33
                                  Bank account name: W. R. Grace & CO.-Conn.
                                  Bank account number: 016001257
                                  Text message: Funds from Chevron for LLC Interest

                                  (ii) Unless previously delivered, Seller is delivering to Buyer a
           certified copy of the Sale Order.

                      4. Representations and Warranties of Seller. Seller hereby represents
and warrants to Buyer as follows:

                      (a) Seller is a corporation duly organized and validly existing under the
laws of Connecticut, with full corporate power to enter into this Agreement and to perform
its obligations hereunder. Seller's execution and delivery of this Agreement, and its
performance of its obligations hereunder, have been duly and validly authorized by all
necessary corporate action on its part. Seller has duly executed and validly delivered this
Agreement, which is legally binding on it.

                      (b) Seller's execution and delivery of
                                                             this Agreement, and its performance
of its obligations hereunder, wil not (i) conflict with its certificate of incorporation or by-laws,
(ii) other than the authorization of the Bankruptcy Court, require it to obtain any
authorization, action, consent, order, approval of, or to give notice to or seek review by or
make any filing, registration or qualification with, any governmental, quasi-governmental,
administrative or judicial body, agency, instrumentality or authority, except for such of the
foregoing as has been obtained or effected or which the failure to obtain or effect would not
have a material adverse effect on its execution or delivery of this Agreement or the
performance of its obligations hereunder, or (iii) result in the breach of any of the provisions
of, or constitute a default under, any agreement, instrument or other document to which it is
a part or by which it is bound, which breach or default would have a material adverse
affect on the Transaction.

                      (c) Seller is the sole record and beneficial owner of the Purchased
Interest, free and clear of all                  liens, security interests, pledges, options, encumbrances,
charges, agreements, and rights of third parties (collectively, "Liens"), other than Liens
arising in favor of (i) the Lenders under the Post-Petition Loan and Security Agreement
dated as of April 1, 2001, as amended (the "Loan Agreement"), between the financial
institutions named therein as the Lenders, Bank of America, N.A. as the Agent, and W. R.
Grace & Co. and the subsidiaries of W. R. Grace & Co. named therein as the Borrowers,
and (ii) Buyer under the LLC Agreement and (ii) the rights of Buyer under the LLC
Agreement (the "Existing Liens").

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               (d) Other than the Existing Liens, there are no securities, rights,
subscriptions, warrants, options, or agreements of any kind outstanding or in effect to
purchase or otherwise acquire all or part of the Purchased Interest. Other than as provided
in the Loan Agreement or the LLC Agreement, Seller has not sold, granted, assigned or
transferred any right or interest in the Purchased Interest to any person or other entity,
which assignment or transfer is currently in force or effect.

               (e) To Seller's knowledge, no action, suit or proceeding before any court
or any governmental or regulatory authority and no investigation by any governmental or
regulatory authority has been commenced or is threatened against the Seller, seeking to
restrain, prevent or change the Transaction or questioning its validity or seeking damages
in connection with the Transaction.

               5. Representations and Warranties of Buver. Buyer hereby represents
and warrants to Seller as follows:

               (a) Buyer is a corporation duly organized, validly existing and in good
standing under the laws of Pennsylvania, with full corporate power to enter into this
Agreement and to perform its obligations hereunder. Buyer's execution and delivery of this
Agreement, and its performance of its obligations hereunder, have been duly and validly
authorized by all necessary corporate action on its part. Buyer has duly executed and
validly delivered this Agreement, which is legally binding on it.

               (b) Buyer's execution and delivery of this Agreement, and its performance
of its obligations hereunder, will not (i) conflict with its articles of incorporation or by-laws,
(ii) require it to obtain any authorization, action, consent, order, approval of, or to give
notice to or seek review by or make any filing, registration or qualification with, any
governmental, quasi-governmental, administrative or judicial body, agency, instrumentality
or authority, except for such of the foregoing as has been obtained or effected or which the
failure to obtain or effect would not have a material adverse effect on its execution or
delivery of this Agreement or the performance of its obligations hereunder, or (iii) result in
the breach of any of the provisions of, or constitute a default under, any agreement,
instrument or other document to which it is a part or by which it is bound, which breach or
default would have a material adverse affect on the Transaction.

               (c) No action, suit or proceeding before any court or any governmental or
regulatory authority and no investigation by any governmental or regulatory authority has
been commenced or to its knowledge is threatened against it, seeking to restrain, prevent
or change the Transaction or questioning its validity or seeking damages in connection with
the Transaction.

              (d) Buyer understands that (i) the Purchased Interest has not been, and
wil not be, registered under the Securities Act, or under any state securities laws, and is
being offered and sold in reliance upon federal and state exemptions for transactions not

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involving any public offering, (ii) the Purchased Interest may not be offered for sale, sold,
delivered after sale, transferred, pledged, or hypothecated unless qualified and registered
under applicable state and federal securities laws or unless, in an opinion of counsel for
Buyer satisfactory to the Company, such qualification and registration is not required, and
(iii) any transfer of the Purchased Interest is further subject to other restrictions, term and
conditions which are set forth in the LLC Agreement.

                      (e) Buyer (i) is acquiring the Purchased Interest solely for its own account
for investment purposes, and not with a view to the distribution thereof, (ii) is a
sophisticated investor with knowledge and experience in business and financial matters,
and (iii) has received sufficient information concerning the Company and has. had the
opportunity to obtain additional information as desired in order to evaluate the merits and
the risks inherent in holding the Purchased Interest.

                      6. Indemnification; SurvivaL. (a) Each Member (the "Indemnitor") shall
indemnify and hold harmless the other Member from and against any and all                         losses, claims,
damages, liabilities and expenses, including (but without limiting the generality of the
foregoing) reasonable attorneys' fees and other legal expenses, arising from or out of or
with respect to the Indemnitor's breach of any representation, warranty, covenant or
agreement of the Indemnitor contained in this Agreement.

                      (b) The representations and warranties contained in this Agreement shall
survive the Closing of the Transaction and the delivery of this Agreement and any other
instruments or documents delivered pursuant hereto or in connection herewith.

                      7. Miscellaneous.

                      (a) Further Actions. From time to time each Part, as and when requested
by the other Part, shall execute and deliver, or cause to be executed and delivered, all
such documents and instruments and shall take, or cause to be taken, all such further or
other actions as the requesting Part may reasonably deem necessary or desirable to carry
out the intent and purposes of this Agreement and to consummate the Transaction.

                      (b) Entire Aareement Assianment. This Agreement contains the entire
agreement between the Parties with respect to the Transaction and supersedes all prior
arrangements or understandings with respect thereto. This Agreement may not be
assigned by either Part, and any attempted assignment in contravention of this Section
7(b) shall be deemed void and of no effect ab initio.

                      (c) Governina Law. This Agreement shall be governed by and construed
in accordance with the laws of the State of Delaware, except for any principles of conflict of
laws that would require the application of the law of a jurisdiction other than Delaware.




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              (d) Counterparts. This Agreement may be signed in counterparts, each of
which may be signed by one or both Parties and all of which shall constitute a single
agreement.

              (e) Descriptive Headinas. The descriptive headings of this Agreement are
for convenience only and shall not control or affect the meaning or construction of any
provision of this Agreement.

              (f) Waivers and Amendments. Any waiver of any term or condition, or any
amendment or supplementation, of this Agreement shall be effective only if in writing and
signed by the Parties.


              IN WITNESS WHEREOF, the Parties have signed this Agreement as of                           the
date first above written.

w. R. GRACE & CO.-CONN.                                            CHEVRON PRODUCTS COMPANY
                                                                   A Division of Chevron U.S.A. Inc.


By:                                                                By:
Name:                                                              Name:
Title:                                                             Title:




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